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   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-00001
12                                Plaintiff,             STIPULATION REGARDING ADVANCING OF
                                                         WITHDRAWAL OF PLEA HEARING;
13                          v.                           [PROPOSED] ORDER
14   ZALATHIEL AGUILA,                                   DATE: April 15, 2016
                                                         TIME: 9:00 a.m.
15                                Defendant.             COURT: Hon. Garland E. Burrell, Jr.
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through his counsel of record, hereby stipulate as follows:

20          1.      By previous order, this matter was set for hearing on April 15, 2016.

21          2.      By this stipulation, the parties now move to advance that hearing to April 8, 2016.

22          3.      The parties agree and stipulate that this hearing is for the purpose of the defendant

23 withdrawing his plea of guilty. The government is not opposed to this withdrawal of plea. The

24 government has been advised that previous counsel advised the defendant, prior to entry of his plea of

25 guilty, that he would not be subject to immigration proceedings as a consequence of his plea to the

26 conspiracy charge. This advice was incorrect and is error under Padilla v. Kentucky, 559 U.S. 356
27 (2010). Accordingly, the parties seek to allow the defendant to withdraw his plea of guilty on April 8,

28 2016.

      STIPULATION AND [PROPOSED] ORDER                    1
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 1          IT IS SO STIPULATED.

 2 Dated: April 1, 2016                             BENJAMIN B. WAGNER
                                                    United States Attorney
 3

 4                                                  /s/ MATTHEW M. YELOVICH
                                                    MATTHEW M. YELOVICH
 5                                                  Assistant United States Attorney
 6

 7 Dated: April 1, 2016                             BRUCE LOCKE
                                                    BRUCE LOCKE
 8
                                                    Counsel for Defendant
 9                                                  ZALATHIEL AGUILA

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13
                                         [PROPOSED] ORDER
14
            IT IS SO ORDERED.
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     Dated: April 1, 2016
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      STIPULATION AND [PROPOSED] ORDER          2
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